        Case 2:08-cr-00539-GEB Document 61 Filed 06/21/11 Page 1 of 2


 1   STEVEN D. BAUER
     Attorney at Law - SBN 50084
 2   428 J Street - Suite 350
     Sacramento, California 95814
 3   Telephone: (916) 447-8262
     E-mail: baueresq@sbcglobal.net
 4
     Attorney for Defendant: ANDREW R. BLAXON
 5
 6
 7
                       IN THE UNITED STATES DISTRICT COURT
 8
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                     ) CR. S-08-539 FCD
11                                                 )
                                      Plaintiff,   )
12                                                 )
                         v.                        ) STIPULATION AND ORDER
13                                                 ) CONTINUING ADMIT OR
     ANDREW R. BLAXON,                             ) DENY HEARING ON TSR
14                                                 ) VIOLATION
                                 Defendant,        )
15                                                 )
16         IT IS HEREBY STIPULATED by the partied, through their respective counsel,
17   that the defendant’s initial appearance on an alleged violation of his terms of supervised
18   release may be continued from June 27, 2011 to July 5, 2011. This continuance is
19   necessary because the Court is unavailable on the originally scheduled date.. There are
20   no issues related to the Speedy Trial Act.
21   Dated: June 20, 2011
22   / s / Steven D. Bauer
23   STEVEN D. BAUER, Counsel for Defendant
24   Dated: June 20, 2011
25
     / s / William S. Wong
26
     WILLIAM S. WONG, Assistant United States Attorney
27
28
        Case 2:08-cr-00539-GEB Document 61 Filed 06/21/11 Page 2 of 2


 1         IT IS SO ORDERED.
 2
     Dated: June 21, 2011              _______________________________________
 3                                     FRANK C. DAMRELL, JR.
                                       UNITED STATES DISTRICT JUDGE
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
